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 8

 9                            IN THE UNITED STATES DISTRICT COURT
10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

11
      PATRICIA CRISCO, et al.,                         Case No.: 3:19-cv-07320- DMR
12                                                     _________________________
                              Plaintiffs,
13                                                     (Sonoma County Sup. Ct. No. SCV-265307)
      v.
14                                                     STIPULATION
      FOREMOST INSURANCE COMPANY
15    GRAND RAPIDS, MICHIGAN, et al.,

16                            Defendants.

17

18            This Stipulation is entered into between Plaintiffs Patricia Crisco, Winnifred
19   Davis, Dorothy Hughes, Clarice McCoy, Yvonne Rawhouser, James Robinson,
20
     Kenneth Simas, Carma Simonsen, Inger Simonsen, Theresa Udall and Defendants
21

22   Foremost Insurance Company, Grand Rapids, Michigan, Inc. and Foremost

23   Property and Casualty Insurance Company (“Defendants”), in an effort to
24
     streamline this litigation but allowing the parties to assert their respective positions
25
     under the guidance of the court. Thus, the parties AGREE and STIPULATE as
26
27   follows:
28
                                                      1
                                            PROPOSED STIPULATION

     4848-4238-8652, v. 1
       Case 3:19-cv-07320-WHA Document 50 Filed 12/01/20 Page 2 of 5



 1            1. If the Court rules in favor of the Defendant as to its currently filed
 2
                   Motion for Summary Judgment, then the Court shall enter a judgment in
 3
                   favor of Defendant.
 4

 5            2. If the Court rules in favor of the Plaintiffs, a judgment will be entered in
 6
                   their favor in the sum of $636,786 plus $50,000 for a total of $686,786.
 7
                   The amount of this judgment is fixed and includes any and all claims
 8

 9                 Plaintiffs have or could have made in this matter including all claims for
10                 pre and post judgment interest and costs to the date of judgment, but does
11
                   not include further claims for costs should an appeal be taken from the
12

13                 judgment entered.

14            3. If the Court rules in any way other than as set forth above, the Parties
15
                   stipulate that the remainder of the case will be limited exclusively to
16
                   obtaining a final adjudication of the claim for total loss benefits currently
17

18                 briefed in the pending Motions for Summary Judgment, and stipulate that
19                 any final judgment in favor of Plaintiffs shall be as set forth above.
20
              4. Once a judgment is entered the parties will have and retain all rights to
21

22                 appeal from the judgment entered; provided, however, that the scope of

23                 the litigation will remain as set forth above, with final judgment to be as
24
                   set forth in paragraph 1 or 2 above.
25

26
27   /////
28   /////
                                                   2
                                         PROPOSED STIPULATION

     4848-4238-8652, v. 1
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       Case 3:19-cv-07320-WHA Document 50 Filed 12/01/20 Page 4 of 5



 1                                              PROOF OF SERVICE
                            Patricia Crisco, et al. vs. Foremost Insurance Company, et al.
 2                            Sonoma County Superior Court Action No. SCV-265307
                               United States District Court for the Northern District of
 3
                                         California Case No. 4:19-cv-07320
 4
            I am employed in the County of San Francisco, State of California. I am over the age of
 5   18 and not a party to the within action; my business address is 101 Montgomery Street, Suite
     1800, San Francisco, California 94104.
 6
              On December 1, 2020, I served the foregoing document(s) described as follows:
 7
                                        PROPOSED STIPULATION
 8
     on the interested parties in this action by placing the copies thereof enclosed in sealed envelopes
 9   addressed as follows:

10   Guy O. Kornblum, Esq.
     Yaelle E. Shaham, Esq.
11   Mukesh Advani
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22   Attorneys for Plaintiffs

23
     XX ONLY BY ELECTRONIC TRANSMISSION. Only by emailing the document(s) to the
24   persons at the e-mail address(es). This is necessitated during the declared National Emergency
     due to the Coronavirus (COVID-19) pandemic because this office will be working remotely, not
25   able to send physical mail as usual, and is therefore using only electronic mail. No electronic
     message or other indication that the transmission was unsuccessful was received within a
26   reasonable time after the transmission. We will provide a physical copy, upon request only, when
     we return to the office at the conclusion of the national emergency.
27

28

                                                          1
                                                   PROOF OF SERVICE
     4845-0343-1850, v. 1
       Case 3:19-cv-07320-WHA Document 50 Filed 12/01/20 Page 5 of 5



 1
              I declare under penalty of perjury under the laws of the State of California that the above
 2   is true and correct. Executed on December 1, 2020, at San Francisco, California.

 3

 4

 5                                                 Michelle Bonilla
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                                                       2
                                               PROOF OF SERVICE
     4845-0343-1850, v. 1
